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                      EXHIBIT II
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                                           Int. No. 1932

By Council Member Rivera, the Speaker (Council Member Johnson), Kallos, Van Bramer,
Rosenthal, Chin, Ayala, Levin, Lander and Koslowitz

A Local Law to amend the administrative code of the city of New York, in relation to personal
liability provisions of leases for commercial tenants impacted by COVID-19

Be it enacted by the Council as follows:

       Section 1. Chapter 10 of title 22 of the administrative code of the city of New York is

amended by adding a new section 22-1004 to read as follows:

       § 22-1004. Personal liability provisions in commercial leases. a. Definitions. For the

purposes of this section, the following terms have the following meanings:

       COVID-19. The term “COVID-19” means the 2019 novel coronavirus or 2019-nCoV.

       COVID-19 period. The term “COVID-19 period” means March 7, 2020 through the later

of (i) the end of the first month that commences after the expiration of the moratorium on

enforcement of evictions of residential and commercial tenants set forth in executive order

number 202.8, as issued by the governor on March 20, 2020 and thereafter extended, (ii) the end

of the first month that commences after the expiration of the moratorium on certain residential

evictions set forth in section 4024 of the coronavirus aid, relief, and economic security, or

CARES, act and any subsequent amendments to such section or (iii) September 30, 2020,

inclusive.

       COVID-19 state disaster emergency. The term “COVID-19 state disaster emergency”

means the state disaster emergency declared by the governor in executive order number 202

issued on March 7, 2020.

       Impacted by COVID-19. The term “impacted by COVID-19” means:




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       1. With respect to an individual, that the individual experienced one or more of the

following situations:

       (a) the individual was diagnosed with COVID-19 or is experiencing symptoms of

COVID-19 and seeking a medical diagnosis;

       (b) a member of the individual’s household was diagnosed with COVID-19;

       (c) the individual was providing care for a family member or a member of the

individual’s household who was diagnosed with COVID-19;

       (d) a member of the individual’s household for whom the person had primary caregiving

responsibility was unable to attend school or another facility that was closed as a direct result of

the COVID-19 state disaster emergency and such school or facility care was required for the

person to work;

       (e) the individual was unable to reach their place of business because of a quarantine

imposed as a direct result of the COVID-19 state disaster emergency;

       (f) the individual was unable to reach their place of business because of the person had

been advised by a health care provider to self-quarantine due to concerns related to COVID-19;

        (g) the individual became the breadwinner or major support for a household because the

head of the household died as a direct result of COVID-19; or

        (h) the individual’s business closed as a direct result of the COVID-19 state disaster

emergency.

       2. With respect to a business, that (i) the business was subject to seating, occupancy or

on-premises service limitations pursuant to an executive order issued by the governor or mayor

during the COVID-19 period or (ii) the revenues of the business during any three-month period

within the COVID-19 period were less than 50 percent of its revenues for the same period in



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2019 or less than 50 percent of its aggregate revenues for the months of December 2019, January

2019, and February 2020.

       Personal liability provision. The term “personal liability provision” means, with respect

to a commercial lease or other rental agreement involving real property and to which a business

is a party as tenant, a term that provides for an individual to become wholly or partially

personally liable for an obligation of such business arising under such lease or agreement upon

the occurrence of a default or other event.

       b. No personal liability provision of a commercial lease or other rental agreement

involving real property and to which a business impacted by COVID-19 is a party as tenant may

be enforced against an individual where the default or other event allowing for such enforcement

occurs during the COVID-19 period.

       § 2. Subdivision a of section 22-902 of the administrative code of the city of New York,

as amended by local law number 185 for the year 2019, is amended to read as follows:

       a. A landlord shall not engage in commercial tenant harassment. Except as provided in

subdivision b of this section, commercial tenant harassment is any act or omission by or on

behalf of a landlord that (i) would reasonably cause a commercial tenant to vacate covered

property, or to surrender or waive any rights under a lease or other rental agreement or under

applicable law in relation to such covered property, and (ii) includes one or more of the

following:

       1. using force against or making express or implied threats that force will be used against

a commercial tenant or such tenant’s invitee;

       2. causing repeated interruptions or discontinuances of one or more essential services;




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       3. causing an interruption or discontinuance of an essential service for an extended period

of time;

       4. causing an interruption or discontinuance of an essential service where such

interruption or discontinuance substantially interferes with a commercial tenant’s business;

       5. repeatedly commencing frivolous court proceedings against a commercial tenant;

       6. removing from a covered property any personal property belonging to a commercial

tenant or such tenant’s invitee;

       7. removing the door at the entrance to a covered property occupied by a commercial

tenant; removing, plugging or otherwise rendering the lock on such entrance door inoperable; or

changing the lock on such entrance door without supplying a key to the new lock to the

commercial tenant occupying the covered property;

       8. preventing a commercial tenant or such tenant’s invitee from entering a covered

property occupied by such tenant;

       9. substantially interfering with a commercial tenant’s business by commencing

unnecessary construction or repairs on or near covered property; [or]

       10. engaging in any other repeated or enduring acts or omissions that substantially

interfere with the operation of a commercial tenant’s business;

       11. threatening a commercial tenant based on such person’s actual or perceived age, race,

creed, color, national origin, gender, disability, marital status, partnership status, caregiver status,

uniformed service, sexual orientation, alienage or citizenship status, status as a victim of

domestic violence, status as a victim of sex offenses or stalking;




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        12. requesting identifying documentation that would disclose the citizenship status of a

commercial tenant, an invitee of a commercial tenant or any person seeking entry to the covered

property in order to patronize such commercial tenant; [or]

        13. unreasonably refusing to cooperate with a tenant’s permitted repairs or construction

activities[.]; or

        14. threatening to or implementing a personal liability provision that is not enforceable

pursuant to section 22-1004 of the code; provided that for the purposes of this paragraph:

        (a) the term “COVID-19 period” means March 7, 2020 through the later of (i) the end of

the first month that commences after the expiration of the moratorium on enforcement of

evictions of residential and commercial tenants set forth in executive order number 202.8, as

issued by the governor on March 20, 2020 and thereafter extended, (ii) the end of the first month

that commences after the expiration of the moratorium on certain residential evictions set forth in

section 4024 of the coronavirus aid, relief, and economic security, or CARES, act and any

subsequent amendments to such section or (iii) September 30, 2020, inclusive;

        (b) a person is “impacted by COVID-19” if such person experienced one or more of the

following situations:

        (1) the person was diagnosed with COVID-19 or is experiencing symptoms of COVID-

19 and seeking a medical diagnosis; provided that for the purposes of this subparagraph, the term

“COVID-19” means the 2019 novel coronavirus or 2019-nCoV;

        (2) a member of the person’s household was diagnosed with COVID-19;

        (3) the person was providing care for a family member or a member of the person’s

household who was diagnosed with COVID-19;




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       (4) a member of the person’s household for whom the person had primary caregiving

responsibility was unable to attend school or another facility that was closed as a direct result of

the COVID-19 state disaster emergency and such school or facility care was required for the

person to work; provided that for the purposes of this subparagraph, the term “COVID-19 state

disaster emergency” means the state disaster emergency declared by the governor in executive

order number 202 issued on March 7, 2020;

       (5) the person was unable to reach the person’s place of business because of a quarantine

imposed as a direct result of the COVID-19 state disaster emergency;

       (6) the person was unable to reach the person’s place of business because the person had

been advised by a health care provider to self-quarantine due to concerns related to COVID-19;

        (7) the person became the breadwinner or major support for a household because the

head of the household died as a direct result of COVID-19; or

        (8) the person’s business is closed as a direct result of the COVID-19 state disaster

emergency;

       (c) a business is “impacted by COVID-19” if (i) it was subject to seating, occupancy or

on-premises service limitations pursuant to an executive order issued by the governor or mayor

during the COVID-19 period or (ii) its revenues during any three-month period within the

COVID-19 period were less than 50 percent of its revenues for the same period in 2019 or less

than 50 percent of its aggregate revenues for the months of December 2019, January 2019, and

February 2020; and

       (d) the term “personal liability provision” has the meaning set forth in section 22-1004 of

the code;

       § 3. This local law takes effect immediately.



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